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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

 RUBY FREEMAN

 and                                                  Civil Action No. 21-3354 (BAH)

 WANDREA MOSS,
                                                      Judge Beryl A. Howell
                         Plaintiffs,

         v.

 RUDOLPH W. GIULIANI,

                         Defendant.




  JOINT STIPULATION REGARDING PLAINTIFFS’ MOTION TO COMPEL THIRD
                       PARTY BERNARD KERIK

       Plaintiffs Ruby Freeman and Wandrea ArShaye’ (“Shaye”) Moss (collectively,

“Plaintiffs”) and third party Bernard Kerik hereby submit the following stipulation, to which the

parties have agreed as of the date of this filing, as follows:

       WHEREAS, on June 9, 2023, Plaintiff filed a Motion to Compel Bernard Kerik to produce

documents and testimony previously withheld on the basis of privilege and to serve a privilege log

that complies with the Federal Rules (the “Motion”). Mr. Kerik represents that he was withholding

information only as the result of the Trump Campaign’s assertions of privilege. On July 13, 2023,

the Court issued an Order granting in part and reserving in part the Motion, directing Mr. Kerik to

produce “a document-by-document privilege log of any withheld record that provides sufficient

information to ‘enable other parties to assess the claim’ that ‘the information is privileged or

subject to protection as trial preparation material,’ FED. R. CIV. P. 26(b)(5)A)(ii)” and further

directing Mr. Kerik to show cause why “(1) any of the Withheld Records withheld under attorney-
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work product privilege grounds should not be produced immediately to plaintiffs; (2) why he

should not be made available for a deposition to respond [to] questions, and any follow up

questions, that he was instructed not to answer during his March 20, 2023 deposition on attorney-

work product protection grounds; and (3) why he and his counsel, Timothy C. Parlatore, should

not be required to reimburse plaintiffs for the attorneys’ fees and costs associated with the

preparation and filing of their motion to compel;”

       WHEREAS, as an investigator working for the legal team, Mr. Kerik asserts that he is not

the privilege holder for any of the documents he is withholding. Mr. Kerik represents that former

President Trump and his 2020 presidential election campaign (together, the “Trump Campaign”)

is the privilege holder for all the documents;

       WHEREAS, at Mr. Kerik’s request, the Trump Campaign has withdrawn their previous

assertions of work product privilege;

       WHEREAS, by July 23, 2024, all documents previously withheld on basis of work product

were produced to Plaintiffs;

       WHEREAS, the Trump Campaign continues to assert attorney-client communications

privilege over a certain subset of the email communications;

       WHEREAS, on July 23, 2023, Mr. Kerik produced a revised privilege log to Plaintiffs;

       WHEREAS, Plaintiffs are in the process of reviewing Mr. Kerik’s additional production

and the revised privilege log;

       THEREFORE, based upon these understandings, and after consultation by and through

their respective counsel, the parties hereby stipulate to the following:




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          1.       Should Plaintiff choose to challenge the attorney-client privilege designation of any

of these emails, Mr. Kerik takes no position and consents to their disclosure for in camera review

by the Court, while deferring all objections to counsel for the Trump Campaign.

          2.       Mr. Kerik agrees to sit for an additional deposition covering all topics which were

objected to during the first deposition, as well as to all of the additional documents he produced to

Plaintiffs. Mr. Kerik and his counsel agree not to object on the basis of privilege or refuse to

answer any of Plaintiffs’ questions during the deposition. This deposition will be conducted

remotely, at a mutually convenient time after Plaintiffs have had an opportunity to review the

additional disclosures, but will occur no later than August 25, 2023.

          3.       By August 4, 2023, Plaintiffs will provide the Court with an update regarding their

review of Mr. Kerik’s additional production and whether Plaintiffs continue to challenge any of

the documents being withheld on the basis of attorney-client privilege. The parties believe at this

time that Mr. Kerik’s production may resolve most of the remaining issues before this Court, but

Plaintiffs require additional time to complete their review of the production and privilege

log. Thus, Plaintiffs will also inform the Court whether they continue to pursue, in light of the

above, any of the relief sought in the Motion.

          4.       The parties agree to defer Mr. Kerik’s obligation to show cause in compliance with

the Court’s July 15 order, if any is still necessary, until seven (7) days after Plaintiffs’ August 4

filing.



Respectfully submitted July 24, 2023

 /s/__Michael J. Gottlieb___________                             /s/_Timothy C. Parlatore_______
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 Michael J. Gottlieb (974960)                                    Parlatore Law Group, LLP
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on July 24, 2023, this document was filed with the Clerk of the Court

of the U.S. District Court of the District of Columbia by using the CM/ECF system, which will

automatically generate and serve notices of this filing to all counsel of record.



Dated: July 24, 2023                                  /s/ _Michael J. Gottlieb
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